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                                    6                     IN THE UNITED STATES DISTRICT COURT

                                    7                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                                                                  Case No. 17-cv-00755 CW
                                    9    JUAN QUINTANILLA VASQUEZ, et
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                                         al.
                                   10                                             ORDER GRANTING MOTION FOR
                                                      Plaintiffs,                 LEAVE TO FILE AMICUS BRIEF
                                   11
                                               v.                                 Re: Dkt. No. 151
                                   12
                                         LIBRE BY NEXUS, INC.,
                                   13
                                                      Defendant.
                                   14

                                   15        Now before the Court is the State of New York’s motion for
                                   16   leave to file a brief as amicus curiae in opposition to the class
                                   17   action settlement that the Court preliminarily approved on July
                                   18   31, 2020.   Docket No. 151.    Attached to the State of New York’s
                                   19   motion for leave is its proposed brief, which was joined by the
                                   20   States of Massachusetts and Virginia.       Docket No. 151-1.     The
                                   21   State of New York filed its motion for leave on October 26, 2020,
                                   22   and as of the date of this order, no opposition to the motion has
                                   23   been filed.    Accordingly, the Court GRANTS the motion.
                                   24        Plaintiff Vasquez filed a motion for final approval of the
                                   25   class action settlement on November 9, 2020, in which he responds
                                   26   to the objections made by the States of New York, Massachusetts,
                                   27   and Virginia in the amicus curiae brief discussed above.          No
                                   28   later than December 2, 2020, the States of New York,
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                                       Massachusetts, and Virginia may file a reply brief responding to

                                       the arguments made in Plaintiff’s motion for final approval of

                                       the class action settlement.

                                            IT IS SO ORDERED.

                                       Dated: November 20, 2020
                                                                                  CLAUDIA WILKEN
                                                                                United States District Judge
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